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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

 

UNITED STATES OF AMERICA,
Case No.
Plaintiff,
PLEA AGREEMENT
Vv.
JOSE RAMON GUTIERREZ,
Defendant.

 

Pursuant to Rule 11(c)(1)(A) and (B) of the Federal Rules of Criminal Procedure,
the United States of America, by its attorneys, Drew H. Wrigley, United States Attorney
for the District of North Dakota, and Jacob T. Rodenbiker, Assistant United States
Attorney; defendant, Jose Ramon Gutierrez; and defendant’s counsel, Bruce D. Quick,
agree to the following:

1. Defendant acknowledges the Information charges a violation of Title 8,
United States Code, Sections 1324(a)(1)(A)(iii) and 1324(a)(1)(B)().

2. Defendant has read the charge and defendant’s attorney has fully explained

the charge to defendant.

3. Defendant fully understands the nature and elements of the charged crime.
4. Defendant will voluntarily waive indictment and plead guilty to the
Information.

5. The parties agree this Plea Agreement shall be filed as part of the Court
record and be governed by Federal Rule of Criminal Procedure 11(c). The parties

specifically agree that Rule 11(c)(1)(C) does not apply. If the United States makes the
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non-binding recommendations specified in this Plea Agreement, then defendant
acknowledges that this agreement will have been fulfilled. Except as provided in
Rule 11(c)(5), the Court’s refusal to accept any or all terms of the Plea Agreement does
not give defendant a right to withdraw defendant’s guilty plea.

6. Defendant will plead guilty because defendant is in fact guilty of the
charge. In pleading guilty to the Information, defendant acknowledges that:

Between on or about May 1, 2018, and on or about January 31, 2019, in the
District of North Dakota, Jose Ramon Gutierrez, knowing and in reckless
disregard of the fact that certain aliens—whose initials are A.N.A. and
R.C.I-—had come to, entered, and remained in the United States in violation
of law, did conceal, harbor, and shield from detection such aliens for the
purpose of commercial advantage and private financial gain. The aliens,
each a citizen of Mexico and not a citizen or national of the United States,
had in fact entered or remained in the United States in violation of law.
The defendant knew or was aware of, but consciously disregarded, facts
and circumstances indicating that these aliens had entered and remained in
the United States in violation of the law. The defendant concealed,
harbored, and shielded them from detection in the United States by
employing them as cooks at Mango’s restaurant in Fargo, even though they
were ineligible to work lawfully in the United States. In doing so, he paid
them in cash and kept them off of the restaurant’s payroll so that they were
unaccounted for in relation to obligations such as workers compensation
insurance premiums, applicable state and federal employment taxes, and
overtime compensation. This off-the-books employment arrangement
afforded the defendant a commercial advantage and resulted in his private
financial gain. His conduct also substantially facilitated these aliens’
remaining in the United States illegally by providing them wages to pay for
shelter and other material comforts, which also had the intent and effect of
assisting in their avoiding detection by authorities.

7. Defendant understands the following maximum penalties apply:
Imprisonment: 10 years

Fine: $250,000

Supervised Release: 3 years

Special Assessment: $100
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Defendant agrees to pay the Clerk of United States District Court the special assessment

on or before the day of sentencing.

8.

including:

Defendant understands that by pleading guilty defendant surrenders rights,

(a) The right to a speedy public jury trial and related rights as follow:

(i) A jury would be composed of twelve (12) lay persons
selected at random. Defendant and defendant’s attorney would help choose
the jurors by removing prospective jurors “for cause,” where actual bias or
other disqualification is shown; or by removing jurors without cause by
exercising so-called peremptory challenges. The jury would have to agree
unanimously before it could return a verdict. The jury would be instructed
that defendant is presumed innocent and that it could not return a guilty
verdict unless it found defendant guilty beyond a reasonable doubt.

(ii) Ifa trial were held without a jury, then the Judge would find
the facts and determine whether defendant was guilty beyond a reasonable
doubt.

| (iii) Ata trial, whether by a jury or Judge, the United States is
required to present witness testimony and other evidence against defendant.
Defendant’s attorney can confront and examine them. In turn, the defense
can present witness testimony and other evidence. If witnesses for
defendant refuse to appear voluntarily, defendant can require their

attendance through the subpoena power of the Court.
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(iv) Ata trial, defendant has a privilege against self-incrimination;
thus, defendant can decline to testify. No inference of guilt can be drawn
from defendant’s refusal to testify. Defendant can choose to testify, but
cannot be required to testify.

(b) Defendant has a right to remain silent. However, under terms of the

Plea Agreement, the Judge will likely ask defendant questions about defendant’s

criminal conduct to ensure that there is a factual basis for defendant’s plea.

9. Defendant understands that by pleading guilty defendant is giving up all of
the rights set forth in the prior paragraph, and there will be no trial. Defendant’s attorney
has explained those rights, and consequences of defendant’s waiver.

10. The Court shall impose a sentence sufficient to comply with purposes set
forth in the Sentencing Reform Act. In doing so, the Court shall consider factors set forth
in 18 U.S.C. § 3553(a), and must consult and take into account the United States’
Sentencing Commission, Guidelines Manual, (Nov. 2018) (USSG). Defendant
understands that the United States Attorney’s Office will fully apprise the District Court
and the United States Probation and Pretrial Services Office of the nature, scope, and
extent of defendant’s conduct, including all matters in aggravation and mitigation
relevant to the issue of sentencing. The United States expressly reserves the right to
appeal from an unreasonable sentence.

11. This Plea Agreement is binding only upon the United States Attorney for
the District of North Dakota. It does not bind any United States Attorney outside the

District of North Dakota, nor does it bind any state or local prosecutor. They remain free
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to prosecute defendant for any offenses under their jurisdiction. This Plea Agreement
also does not bar or compromise any civil or administrative claim.

12. Defendant understands the United States Attorney reserves the right to
notify any local, state, or federal agency by whom defendant is licensed, or with whom
defendant does business, of defendant’s conviction.

| 13. The parties agree that the base offense level under the Sentencing
Guidelines for defendant’s conduct is 12. (USSG § 2L1.1(a)(3)). The parties further
agree that a 3-level downward adjustment is appropriate, because the offense was
committed other than for profit, at least insofar as the Sentencing Guidelines define that
phrase. (USSG § 2L1.1(b)(1)(A)).

14. Atsentencing, United States agrees to recommend a 2-level downward
adjustment for acceptance of responsibility, provided defendant has demonstrated a
genuine acceptance of responsibility. (USSG § 3E1.1(a)).

15. The parties stipulate and agree that, as of the date of this agreement, the
defendant appears to qualify for a 2-level downward adjustment for acceptance of
responsibility. However, the government may, in its discretion, contest the adjustment
under USSG § 3E1.1(a) should the defendant subsequently fail to continue to accept
responsibility by failing to abide by the conditions of release, if applicable; by providing
false information to the Court, the probation office, or the United States; by unlawfully
using controlled substances; by attempting to obstruct justice; by breaching this Plea
Agreement; or by acting in a way that is inconsistent with, or failing to act in any way

that is consistent with the granting of the adjustment under USSG § 3E1.1(a).
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16. Neither the Court nor the Probation Office is a party to the Plea Agreement.
Neither the Court nor the Probation Office is bound by the Plea Agreement as to
determining the Sentencing Guideline range. The Court may apply other adjustments the
parties have not agreed upon. The Court may also depart from the applicable Guideline
range. See USSG § 1B1.1, app. n. 1(F). The Court may also vary or impose a sentence
that is outside the Guideline framework. See USSG § 1B1.1, background. Both parties
reserve the right to object to any adjustment, departure, or variance not agreed to.

17. Atsentencing, the parties jointly will recommend:

(a) Asentence of probation for a period of two years, so long as the

Court determines the defendant’s applicable guideline range falls within Zone A,

and, if outside of Zone A, at the low-end of the applicable guideline range; and

(b) A fine of $15,000 in lieu of any seizure and forfeiture otherwise

available to the United States under 8 U.S.C. §1324(b) and 28 U.S.C. § 2461(c),

for which payment or adherence to a court-established installment schedule shall

be a condition of any probation or supervised release the Court may impose.

18. Defendant acknowledges and understands that if defendant violates any
term of this Plea Agreement, engages in any further criminal activity, or fails to appear
for sentencing, the United States will be released from its commitments. In that event,
this Plea Agreement shall become null and void at the discretion of the United States, and
defendant will face the following consequences: (1) all testimony and other information
defendant has provided at any time to attorneys, employees, or law enforcement officers

of the government, to the Court, or to the Federal Grand Jury, may be used against
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defendant in any prosecution or proceeding; and (2) the United States will be entitled to
reinstate previously dismissed charges and/or pursue additional charges against defendant
and to use any information obtained directly or indirectly from defendant in those
additional prosecutions. Nothing in this agreement prevents the United States from
prosecuting defendant for perjury, false statement(s), or false declaration(s), if defendant
commits such acts in connection with this agreement or otherwise.

19. Defendant acknowledges the provisions of Title 18, United States Code,
Sections 2259 and 3663A, which require the Court to order restitution. Defendant agrees
to pay restitution as may be ordered by the Court. Defendant acknowledges and agrees
that the Court will order defendant to make restitution for all loss caused by defendant’s
conduct, regardless of whether counts of the Information will be dismissed as part of this
Plea Agreement. Defendant further agrees to grant the United States a wage assignment,
liquidate assets, or complete any other tasks the Court finds reasonable and appropriate
for the prompt payment of any restitution or fine ordered by the Court.

20. The United States will file a Supplement in this case, as is routinely done in
every case, even though there may or may not be any additional terms. Defendant and
defendant’s attorney acknowledge that no threats, promises, or representations exist
beyond the terms of this Plea Agreement.

21.  Defendant’s Waiver of Appeal. The defendant acknowledges having
been advised by counsel of the defendant’s rights to appeal the conviction or sentence in
this case, including the appeal right conferred by 18 U.S.C. § 3742, and to challenge the

conviction or sentence collaterally through post-conviction proceedings, including

 
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proceedings under 28 U.S.C. § 2255. The defendant understands these rights, and in
exchange for the concessions made by the United States in this plea agreement, the
defendant hereby knowingly, voluntarily, intelligently, and expressly waives these rights,
except as specifically reserved herein. The defendant’s waiver of these rights includes,
but-is not limited to, a waiver of all rights to appeal or to collaterally attack: the
~ defe xdant’s conviction or sentence; all non-jurisdictional issues; any restitution or
forfeiture order: the constitutionality of the applicable guidelines; and the
constitutionaiity of the statutes to which defendant is pleading guilty or under which
defendant is sentenced, or to argue that the admitted conduct does not fall within the
scope of the statutes. The defendant reserves the right to appeal a sentence of
imprisonment imposed above the upper end of the guidelines range calculated by the
district court under USSG §§ 1B1.1(a) and (b) and the right to appeal or to collaterally
attack the conviction or sentence based on a claim of ineffective assistance of counsel.

22. By signing this Plea Agreement, the defendant further specifically waives
defendant’s right to seek to withdraw defendant’s plea of guilty, pursuant to Federal
Rules of Criminal Procedure 11(d), once the plea has been entered in accordance with
this agreement. The appellate court will enforce such waivers. The defendant agrees that
any attempt to withdraw defendant’s plea will be denied and any appeal of such denial
should be dismissed.

23. The Assistant United States Attorney and attorney for defendant agree to

abide by the provisions of Rule 32(f) of the Federal Rules of Criminal Procedure. The

 
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attorneys acknowledge their obligation to use good-faith efforts to resolve any disputes
regarding the Presentence Investigation Report (PSIR) through a presentence conference
or other informal procedures.

24. Defendant acknowledges reading and understanding all provisions of the
Plea Agreement. Defendant and defendant’s attorney have discussed the case and
reviewed the Plea Agreement. They have discussed defendant’s constitutional and other
rights, including, but not limited to, defendant’s plea-statement rights under Rule 410 of
the Federal Rules of Evidence and Rule 11(f) of the Federal Rules of Criminal Procedure.

AGREED:

DREW H. WRIGLEY
United States Attorney

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By: JACOB T. RODENBIKER
Assistant United States Attorney

 

 

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JOSE RAMON GUTIERREZ
Defendant

BRUCE D. QUICK
Attorney for Defendant

 

 

 

 
